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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :
                                              :       Case No. 1:21-cr-371 (RC)
JONAH WESTBURY,                               :
                                              :
            Defendant.                        :
___________________________________

UNITED STATES OF AMERICA            :
                                    :
            v.                      :                 Case No. 1:21-cr-605 (RC)
                                    :
ISAAC WESTBURY,                     :
AARON JAMES, and                    :
ROBERT WESTBURY,                    :
                                    :
                  Defendants.       :
_____________________________________

        GOVERNMENT’S RESPONSE TO REPORT AND RECOMMENDATION
                        OF CONFLICT COUNSEL

       The United States of America, by its attorney, Matthew M. Graves, United States Attorney

for the District of Columbia, and Jordan A. Konig, Trial Attorney, U.S. Department of Justice,

submits this Response to the Report and Recommendation of Conflict Counsel, ECF No. 56.

       The United States agrees with the Conflict Counsel that the Court should adopt and

implement the procedures proposed in the Report and Recommendation Regarding Single

Attorney Representing Three Co-Defendants in the Same Case prepared in United States v.

Lesperance, No. 1:21-CR-575 (EGS), ECF No. 18. As in that case, several potential conflicts of

joint representation may arise here, (1) in the area of plea negotiations, where the Government will

require that each defendant provide truthful information about his conduct and the actions of his

co-defendants on January 6, 2021; (2) in the event of a trial, where the defendants’ alleged conduct

is of different levels of severity, one or more of the co-defendants may wish to testify, and defense

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counsel may be required to argue inconsistent positions for his clients and argue their relative

culpabilities; and (3) at sentencing, where defense counsel may have to argue that one or more

defendants is more culpable than others. See id. at 12-13.

       Even if none of the defendants intends to cooperate against his co-defendants, ECF No. 56

at 2, the United States will require that any written plea agreement be accompanied by a statement

of offense containing a full factual basis for conviction. Such a factual predicate entails a truthful

description of the defendant’s conduct on January 6, 2021, which necessarily would include

inculpatory information about his co-defendants. That is, in order to obtain credit for acceptance

of responsibility at sentencing, a defendant likely would need to provide full information about his

co-defendants’ misconduct, creating an actual conflict of representation. Moreover, a disparity in

culpability among the four defendants is not merely hypothetical. Two defendants, Isaac Westbury

and Aaron James, are charged with multiple felonies for their violent attack on law enforcement

officers on January 6, 2021, including by physically assaulting (with a police shield) multiple

uniformed officers. See United States v. Westbury, No. 1:21-cr-605, ECF No. 35. The remaining

defendants, Robert Westbury and Jonah Westbury, are charged only with misdemeanors for

unlawfully entering and engaging in disorderly or disruptive conduct in the U.S. Capitol Building

on January 6, 2021. Id.; see also United States v. Westbury, No. 1:21-CR-371, ECF No. 44.

       Due to attorney-client privilege, the United States cannot confirm that each defendant here

is aware of those and other risks of joint representation and is prepared to voluntarily, knowingly,

and intelligently waive any actual or potential conflicts. See ECF No. 56 at 2-3. Indeed, as

recognized by the Report and Recommendation in Lesperance, “one must seriously question the

ability of most criminal defendants to appreciate fully the significance of conflicts of interest.”

Lesperance, ECF No. 18 at 17 (quoting John Stewart Greer, REPRESENTATION               OF   MULTIPLE



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CRIMINAL DEFENDANTS: CONFLICTS        OF INTEREST AND THE      PROFESSIONAL RESPONSIBILITIES      OF

THE   DEFENSE ATTORNEY, 62 Minn. L. Rev. 119, 154 (1978)). Potential conflicts arising from

single lawyer representation of multiple co-defendants “‘are difficult enough for a lawyer to assess,

and even more difficult to convey by way of explanation to a criminal defendant untutored in the

niceties of legal ethics.’” Id. (quoting Wheat v. United States, 486 U.S. 153, 163 (1988)).

        Accordingly, the United States requests that the Court adopt all of the recommendations of

the Conflict Counsel in Lesperance. Id. at 20-23. Although it was not recommended by Conflict

Counsel in this matter, the Government specifically urges the Court to appoint each defendant

separate counsel to thoroughly advise him on the conflict issues arising from their joint

representation by John Pierce. As in Lesperance, the Court should appoint each defendant an

independent “‘experienced counsel having no stake in an ongoing attorney-client relationship or

the fees that may be generated therefrom’ to advice each co-defendant about potential conflicts

that could arise.” Id. at 21 (quoting United States v. Carlyle, 964 F. Supp. 8, 9, 13 (D.D.C. 1997)).

By doing so, the Court may develop a record to support a finding that any defendant’s waiver of

conflict-free counsel has been established by “clear, unequivocal, and unambiguous language.”

Id. at 23 (quoting Carlyle, 964 F. Supp. at 13 n.4).

                                              Respectfully submitted,

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                                              /s/ Jordan A. Konig
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